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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 UNITED STATES OF AMERICA                                  §
                                                           §    CASE NO. 4:23-CR-218-1
 vs.                                                       §
                                                           §
 (1) HARDIK JAYANTILAL PATEL,                              §
                                                           §
                        Defendant.                         §

                                               ORDER

        Pending before the Court is the Joint Motion for Order Authorizing Deposit of Seized

Funds into Court Registry in Anticipation of Restitution, filed by the United States of America and

Defendant Hardik Jayantilal Patel. The Court hereby GRANTS the motion.

        Defendant Hardik Jayantilal Patel pleaded guilty to Count One of the Indictment. Count

One charged Defendant with conspiracy to commit mail fraud in violation of 18 U.S.C. § 1349. In

his Plea Agreement, Defendant agreed to pay restitution to the victims in this case. Defendant also

agreed to entry of an order directing that approximately $17,005 in U.S. currency seized from him

at or near the time of his arrest be paid over to the court registry in anticipation of the restitution

order in this case.

        U.S. Customs & Border Protection (CBP) initiated administrative forfeiture proceedings

of the $17,005 U.S. currency in Case No. 2023410700002201. Through counsel for the United

States, CBP has expressed a willingness to forego administrative forfeiture so that the funds may

be applied to the anticipated restitution order in this case.

        To facilitate the agreement of the parties, the Court will authorize CBP to deposit these

funds by cashier’s check or money order into the Court’s Registry. The cashier’s check or money

order should be made payable to “Clerk, U.S. District Court” and brought to 515 Rusk or mailed

to P.O. Box 61010, Houston, Texas 77208. The case number 4:23-CR-218-01 and Defendant’s
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full name (Hardik Jayantilal Patel) should be included on the cashier’s check or money order so

that proper credit will be received.

       The Court, therefore, ORDERS that the U.S. District Court Clerk is authorized to accept

funds deposited by or on behalf of Defendant Hardik Jayantilal Patel and to hold them in the

Court’s Registry pending further order of this Court.

       Signed on _______________________________, 2024.


                                             _________________________
                                             Andrew S. Hanen
                                             United States District Judge




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